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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

             Plaintiff,                              Case No. 4:11-CR-298-BLW

      v.                                             ORDER

ELDON McCONNELL,

             Defendant.



      Pursuant to the rulings made from the bench at the conclusion of the hearing held

December 17, 2013,

      NOW THEREFORE IT IS HERBY ORDERED, that the defendant is found

competent to stand trial and assist in his own defense under 42 USC § 4241(d).

      IT IS FURTHER ORDERED, that trial shall be set for January 2, 2014, at 1:30

p.m. in the Federal Courthouse in Pocatello Idaho.



                                                DATED: December 20, 2013


                                                _________________________
                                                B. Lynn Winmill
                                                Chief Judge
                                                United States District Court
